      Case: 1:14-cr-00058-JRA Doc #: 133 Filed: 04/14/17 1 of 2. PageID #: 1581




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

GERMAIN D. DAVIS, JR.,                       )       CASE NO. 1:14CR58
                                             )                1:16CV1671
                                             )
                      Petitioner,            )       JUDGE JOHN R. ADAMS
                                             )
       v.                                    )
                                             )
UNITED STATES OF AMERICA,                    )       ORDER AND JUDGMENT ENTRY
                                             )
                      Respondent.            )
                                             )


       The instant matter is before the Court upon Petitioner’s Motion to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody, filed pursuant to 28 U.S.C. § 2255. Doc. 103.

The petition is DENIED.

       The sole timely issue presented in the pending § 2255 motion is Petitioner’s contention that

he was sentenced under a statutory provision that he claims is similar to a statutory provision ruled

unconstitutional by the Supreme Court. The Sixth Circuit has resolved this issue:

       Taylor’s final argument is that the Supreme Court’s decision in Johnson v. United
       States, ––– U.S. ––––, 135 S.Ct. 2551, 192 L.Ed.2d 569 (2015), compels the
       conclusion that 18 U.S.C. § 924(c)(3)(B), the statute supporting two of Taylor’s
       convictions, is unconstitutionally vague. Because § 924(c)(3)(B) is considerably
       narrower than the statute invalidated by the Court in Johnson, and because much of
       Johnson’s analysis does not apply to § 924(c)(3)(B), Taylor’s argument in this regard
       is without merit

United States v. Taylor, 814 F.3d 340, 375–76 (6th Cir. 2016). Accordingly, this Court similarly

rejects Petitioner’s argument.



                                                 1
       Case: 1:14-cr-00058-JRA Doc #: 133 Filed: 04/14/17 2 of 2. PageID #: 1582



        To the extent that Petitioner seeks to raise other arguments in which he claims error in his

sentence, it is beyond dispute that any such claimed errors were not raised in a timely § 2255

petition and therefore cannot be raised herein. 1 Moreover, Davis’ motion to now withdraw his

petition is DENIED. Doc. 131.

III. CONCLUSION

        For the foregoing reasons, Petitioner Germain Davis’ Motion Under 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody is hereby DENIED.

        Furthermore, the Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an appeal from this

decision could not be taken in good faith, and that there is no basis upon which to issue a certificate

of appealability pursuant to 28 U.S.C. § 2253(c); Fed. R. App. P. 22(b).

        IT IS SO ORDERED.

        Dated: April 14, 2017                                 /s/ John R. Adams
                                                              JOHN R. ADAMS
                                                              UNITED STATES DISTRICT JUDGE




1
 The Government has properly argued and Davis has not refuted that his current petition was filed well beyond the one-
year statute of limitations applicable to § 2255 proceedings and that no exception exists for any claim not premised on
Johnson.
                                                          2
